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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS

 TODD COYER, KARL KISNER,
 LAURYN OVERBEY, LISA SOLOMON,                        Case No:
 and SONNY PIKE, Individually and as
 representatives of a class of similarly
 situated persons, on behalf of the UNIVAR
 SOLUTIONS 401(K) PLAN f/k/a the                      CLASS ACTION COMPLAINT
 UNIVAR USA INC. VALUED
 INVESTMENT PLAN,

                 Plaintiffs,
            v.

 UNIVAR SOLUTIONS USA INC., THE
 BOARD OF DIRECTORS OF UNIVAR
 SOLUTIONS USA INC., THE RETIREMENT
 PLAN COMMITTEE OF UNIVAR
 SOLUTIONS USA INC.; and DOES No. 1-20,
 Whose Names Are Currently Unknown,

                 Defendants.



                                    I.     INTRODUCTION

       1.        Plaintiffs, Todd Coyer (“Coyer”), Karl Kisner (“Kisner”), Lauryn Overbey

(“Overbey”), Lisa Solomon (“Solomon”), and Sonny Pike (“Pike”) (collectively, “Plaintiffs”),

individually and as participants of the Univar Solutions 401(k) Plan f/k/a the Univar USA Inc.

Valued Investment Plan (“Plan”), bring this action under 29 U.S.C. § 1132, on behalf of the Plan

and a class of similarly-situated participants and beneficiaries of the Plan, against Defendants,

Univar Solutions USA Inc. (“Univar”), the Board of Directors of Univar Solutions USA Inc.

(“Board”), the Retirement Plan Committee of Univar Solutions USA Inc. (“Administrative

Committee” or “Committee”), and Does No. 1-20, who are members of the Administrative

Committee or the Board or other fiduciaries of the Plan and whose names are currently unknown
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(collectively, “Defendants”), for breach of their fiduciary duties under the Employee Retirement

Income Security Act (“ERISA”), 29 U.S.C. § 1001 et seq., and related breaches of applicable

law beginning six years prior to the date this action is filed and continuing to the date of

judgment, or such earlier date that the Court determines is appropriate and just (“Class Period”).

           2.       Defined contribution plans (e.g., 401(k) and 403(b) plans) that are qualified as

tax-deferred vehicles have become the primary form of retirement saving in the United States

and, as a result, America’s de facto retirement system. Unlike traditional defined benefit

retirement plans, in which the employer typically promises a calculable benefit and assumes the

risk with respect to high fees or under-performance of pension plan assets used to fund defined

benefits, 401(k) and 403(b) plans operate in a manner in which participants bear the risk of high

fees and investment underperformance.

           3.       The importance of defined contribution plans to the United States retirement

system has become pronounced as employer-provided defined benefit plans have become

increasingly rare as an offered and meaningful employee benefit.

           4.       As of December 31, 2020, the Plan had 7,449 participants with account balances

and assets totaling approximately $978 million, placing it in the top 0.2% of all 401(k) plans by

plan size.1 Defined contribution plans with substantial assets, like the Plan, have significant

bargaining power and the ability to demand low-cost administrative and investment management

services within the marketplace for administration of 401(k) plans and the investment of 401(k)

assets. The marketplace for 401(k) retirement plan services is well-established and can be

competitive when fiduciaries of defined contribution retirement plans act in an informed and

prudent fashion.



1
    The BrightScope/ICI Defined Contribution Plan Profile: A Close Look at 401(k) Plans, 2018 (pub. July 2021).

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          5.   Defendants maintain the Plan, and are responsible for selecting, monitoring, and

retaining the service provider(s) that provide investment, recordkeeping, and other administrative

services. Defendants are fiduciaries under ERISA, and, as such, owe a series of duties to the

Plan and its participants and beneficiaries, including obligations to act for the exclusive benefit

of participants, ensure that the investment options offered through the Plan are prudent and

diverse, and ensure that Plan expenses are fair and reasonable.

          6.   Defendants have breached their fiduciary duties to the Plan. As detailed below,

Defendants: (1) failed to fully disclose the expenses and risk of the Plan’s investment options to

participants; (2) allowed unreasonable expenses to be charged to participants; and (3) selected,

retained, and/or otherwise ratified high-cost and poorly-performing investments, instead of

offering more prudent alternative investments when such prudent investments were readily

available at the time Defendants selected and retained the funds at issue and throughout the Class

Period.

          7.   To remedy these fiduciary breaches and other violations of ERISA, Plaintiffs

bring this class action under Sections 404, 409 and 502 of ERISA, 29 U.S.C. §§ 1104, 1109 and

1132, to recover and obtain all losses resulting from each breach of fiduciary duty. In addition,

Plaintiffs seek such other equitable or remedial relief for the Plan and the proposed class

(“Class”) as the Court may deem appropriate and just under all of the circumstances.

          8.   Plaintiffs specifically seek the following relief on behalf of the Plan and the Class:

               a.      A declaratory judgment holding that the acts of Defendants described

                       herein violate ERISA and applicable law;




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              b.      A permanent injunction against Defendants prohibiting the practices

                      described herein and affirmatively requiring them to act in the best

                      interests of the Plan and its participants;

              c.      Equitable, legal or remedial relief for all losses and/or compensatory

                      damages;

              d.      Attorneys’ fees, costs and other recoverable expenses of litigation; and

              e.      Such other and additional legal or equitable relief that the Court deems

                      appropriate and just under all of the circumstances.

                                     II.     THE PARTIES

       9.     Coyer is a former employee of Univar and former participant in the Plan under 29

U.S.C. § 1002(7). During the Class Period, Coyer maintained an investment through the Plan in

the Dodge & Cox Income Fund, the T. Rowe Price New Horizons Fund, the Mercer Small/Mid

Cap Stock Collective Investment Trust (“CIT”), the Mercer Diversified Bond CIT, the Mercer

Large Cap Stock CIT, the Mercer International Stock CIT, the Delaware Small Cap Value Fund,

the LSV Value Equity Fund, the State Street Global All Cap Equity ex-U.S. Index CIT, the State

Street Real Asset CIT, the State Street Russell Small/Mid Cap Index CIT, the State Street S&P

500 Index CIT, the State Street U.S. Bond Index CIT, the Invesco Stable Value CIT, the Fidelity

Managed Income Portfolio, the Fidelity Diversified International Fund, the Fidelity Growth

Company Fund, the Fidelity Low-Priced Stock Fund, the Fidelity U.S. Bond Index Fund, the

Fidelity 500 Index Fund, the Fidelity International Index Fund, and the Fidelity Extended Market

Index Fund and was subject to the excessive recordkeeping and administrative costs alleged

below. Coyer is a resident of Lawrence, New Jersey.




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       10.     Kisner is a former employee of Univar and former participant in the Plan under 29

U.S.C. § 1002(7). During the Class Period, Kisner maintained an investment through the Plan in

the Fidelity Freedom 2010 Fund, the Fidelity Freedom 2020 Fund, the Fidelity Freedom 2030

Fund, the Fidelity Freedom 2040 Fund, the Fidelity Freedom 2050 Fund, and the FIAM Index

Target Date 2035 Commingled Pool and was subject to the excessive recordkeeping and

administrative costs alleged below. Kisner is a resident of Pflugerville, Texas.

       11.     Overbey is a former employee of Univar and former participant in the Plan under

29 U.S.C. § 1002(7). During the Class Period, Overbey maintained an investment through the

Plan in the Dodge & Cox Income Fund, the T. Rowe Price New Horizons Fund, the Mercer

Small/Mid Cap Stock CIT, the Mercer Diversified Bond CIT, the Mercer Large Cap Stock CIT,

the Mercer International Stock CIT, the Delaware Small Cap Value Fund, the LSV Value Equity

Fund, the State Street Global All Cap Equity ex-U.S. Index CIT, the State Street S&P 500 Index

CIT, the State Street U.S. Bond Index CIT, the Invesco Stable Value CIT, the Fidelity Managed

Income Portfolio, the Fidelity Diversified International Fund, the Fidelity Growth Company

Fund, the Fidelity Low-Priced Stock Fund, the Fidelity U.S. Bond Index Fund, the Fidelity 500

Index Fund, the Fidelity International Index Fund, the Fidelity Extended Market Index Fund, the

Fidelity Freedom Income Fund, the Fidelity Freedom 2025 Fund, the Fidelity Freedom 2030

Fund, the Fidelity Freedom 2035 Fund, the Fidelity Freedom 2040 Fund, the Fidelity Freedom

2045 Fund, the Fidelity Freedom 2050 Fund, the Fidelity Freedom 2055 Fund, and the Fidelity

Freedom 2060 Fund and was subject to the excessive recordkeeping and administrative costs

alleged below. Overbey is a resident of Chicago, Illinois.

       12.     Solomon is a former employee of Univar and former participant in the Plan under

29 U.S.C. § 1002(7). During the Class Period, Solomon maintained an investment through the



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Plan in the T. Rowe Price New Horizons Fund, the Fidelity Managed Income Portfolio, the

Fidelity Freedom 2010 Fund, Mercer Small/Mid Cap Stock CIT, the Invesco Stable Value CIT,

and the FIAM Index Target Date 2010 Commingled Pool and was subject to the excessive

recordkeeping and administrative costs alleged below. Solomon is a resident of Cincinnati,

Ohio.

         13.   Pike is a former employee of Univar and former participant in the Plan under 29

U.S.C. § 1002(7). During the Class Period, Pike maintained investments through the Plan in the

Fidelity Freedom 2030 Fund and Fidelity Freedom 2035 Fund and was subject to the excessive

recordkeeping and administrative costs alleged below. Pike is a resident of Fife, Washington.

         14.   Univar is a public Delaware corporation headquartered in Downers Grove,

Illinois. Univar is a global chemical and ingredients distributor and provider of value-added

services.

         15.   The Board appointed “authorized representatives” of Univar, including the

Administrative Committee, as plan fiduciaries. Does No. 1-10 are members of the Board who

were/are fiduciaries of the Plan under ERISA pursuant to 29 U.S.C. §§ 1002(21)(A) because

each exercised discretionary authority to appoint and/or monitor the Administrative Committee,

which had control over Plan management and/or authority or control over management or

disposition of Plan assets.

         16.   The Administrative Committee is the Plan Administrator and is a fiduciary under

ERISA pursuant to 29 U.S.C. §§ 1002 and 1102. The Administrative Committee maintains its

address at Univar’s corporate headquarters in Downers Grove, Illinois. The Administrative

Committee and its members are appointed by Univar or its delegate to administer the Plan on

Univar’s behalf.



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       17.     Does No. 11-20 are the members of the Administrative Committee and, by virtue

of their membership, fiduciaries of the Plan or otherwise are fiduciaries to the Plan. Plaintiffs are

currently unable to determine the membership of the Administrative Committee or the identity of

the other fiduciaries of the Plan because, despite reasonable and diligent efforts, it appears that

the membership of the Administrative Committee and the identity of any other fiduciaries is not

publicly available. As such, these Defendants are named Does as placeholders. Plaintiffs will

move, pursuant to Rule 15 of the Federal Rules of Civil Procedure, to amend this Complaint to

name the members of the Administrative Committee, the members of the Board, and other

responsible individuals as defendants as soon as their identities are discovered.

                             III.    JURISDICTION AND VENUE

       18.     Plaintiffs seek relief on behalf of the Plan pursuant to ERISA’s civil enforcement

remedies with respect to fiduciaries and other interested parties and, specifically, under 29

U.S.C. § 1109 and 29 U.S.C. § 1132.

       19.     This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §

1331 because this action arises under the laws of the United States.

       20.      Venue is proper in this District pursuant to Section 502(e) of ERISA, 29 U.S.C. §

1332(e), and 28 U.S.C. § 1391 because Univar’s principal place of business is in this District and

the Plan is administered from this judicial district. Furthermore, a substantial part of the acts and

omissions giving rise to the claims asserted herein occurred in this District.

       21.     Plaintiffs have standing to bring this action. Section 502(a)(2) of ERISA, 29

U.S.C. § 1132(a)(2), authorizes any participant, fiduciary or the Secretary of Labor to bring suit

as a representative of a plan, with any recovery necessarily flowing to a plan. As explained

herein, the Plan has suffered millions of dollars in losses resulting from Defendants’ fiduciary



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breaches and remains vulnerable to continuing harm, all redressable by this Court. In addition,

although standing under Section 502(a)(2) of ERISA, 29 U.S.C. § 1132(a)(2), is established by

these Plan-wide injuries, Plaintiffs and all Plan participants suffered financial harm as a result of

the Plan’s imprudent investment options and excessive fees, and were deprived of the

opportunity to invest in prudent options with reasonable fees, among other injuries.

                              IV.     FACTUAL ALLEGATIONS

A.     Background and Plan Structure

       22.     The Plan is a participant-directed 401(k) plan, in which participants direct the

investment of their contributions into various investment options offered by the Plan. Each

participant’s account is credited with the participant contributions, employer matching

contributions, any discretionary contributions, and earnings or losses thereon. The Plan pays

Plan expenses from Plan assets, and the majority of administrative expenses are paid by

participants as a reduction of investment income. Each participant’s account is charged with the

amount of distributions taken and an allocation of administrative expenses. The available

investment options for participants of the Plan include various CITs. Prior to the switch to an

all-CIT lineup in 2019, the Plan investment menu included various mutual funds and a CIT.

       23.     Mutual funds are publicly-traded investment vehicles consisting of a pool of

monetary contributions collected from many investors for the purpose of investing in a portfolio

of equities, bonds, and other securities. Mutual funds are operated by professional investment

advisers, who, like the mutual funds, are registered with the U.S. Securities and Exchange

Commission (“SEC”). Mutual funds are subject to SEC regulation, and are required to provide

certain investment and financial disclosures and information in the form of a prospectus.




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        24.     CITs are, in essence, mutual funds without the SEC regulation. CITs fall under

the regulatory purview of the Office of the Comptroller of the Currency or individual state

banking departments. CITs were first organized under state law in 1927 and were blamed for the

market crash in 1929. As a result, collective trusts were severely restricted, giving rise to the

more transparent and publicly-traded mutual funds. Today, banks create collective trusts only

for their trust clients and for employee benefit plans, like the Plan. The main advantage of

opting for a collective trust, rather than a mutual fund, is the negotiability of the fees, so that

larger retirement plans should be able to leverage their size for lower fees.

        25.     During the Class Period, Plan assets were held in a trust by the Plan Trustee,

Fidelity Management Trust Company. All investments and asset allocations are performed

through this trust instrument.

B.      The Defined Contribution Industry

        26.     Failures by ERISA fiduciaries to monitor fees and costs for reasonableness, such

as those identified herein, have stark financial consequences for retirees. Every extra level of

expenses imposed upon plan participants compounds over time and reduces the value of

participants’ investments available upon retirement. Over time, even small differences in fees

compound and can result in vast differences in the amount of a participant’s savings available at

retirement. As the Supreme Court has explained, “[e]xpenses, such as management or

administrative fees, can sometimes significantly reduce the value of an account in a defined-

contribution plan.” Tibble v. Edison Int'l, 575 U.S. 523, 525 (2015).

        27.     The impact of excessive fees on a plan’s employees’ and retirees’ retirement

assets is dramatic. The U.S. Department of Labor (“DOL”) has noted that a 1% higher level of




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fees over a 35-year period makes a 28% difference in retirement assets at the end of a

participant’s career.2

           28.    Plan participants typically have little appreciation of the fees being assessed to

their accounts. Indeed, according to a 2017 survey conducted by TD Ameritrade, only 27% of

investors believed they knew how much they were paying in fees as participants in defined

contribution plans, and 37% were unaware that they paid defined contribution fees at all.3 It is

incumbent upon plan fiduciaries to act for the exclusive best interest of plan participants, protect

their retirement dollars, and ensure that fees are and remain reasonable for the services provided

and properly and fully disclosed. Unfortunately, fiduciaries of defined contribution retirement

plans, including large retirement plans like the Plan, also often lack understanding of the fees

being charged to the plans that they administer, manage and control.

C.         Recordkeeping and Administrative Services

           29.    Fiduciaries of virtually all large defined contribution plans, including the Plan,

hire a single provider to provide the essential recordkeeping and administrative (“RK&A”)

services for the plan. These services include, but are not limited to, maintaining plan records,

tracking participant account balances and investment elections, providing transaction processing,

providing call center support and investment education and guidance, providing participant

communications, and providing trust and custodial services.

           30.    The term “recordkeeping” is a catchall term for the entire suite of recordkeeping

and administrative services typically provided by a plan’s service provider or “recordkeeper” –


2
    A Look at 401(k) Plan Fees, UNITED STATES DEPT. OF LABOR at 1-2 (Sept. 2019),
https://www.dol.gov/sites/dolgov/files/ebsa/about-ebsa/our-activities/resourcecenter/publications/a-look-at-401k-
plan-fees.pdf (last visited January 3, 2022).
3
 See https://s2.q4cdn.com/437609071/files/doc_news/research/2018/Investor-Sentiment-Infographic-401k-fees.pdf
(last visited January 3, 2022).

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that is recordkeeping fees and RK&A fees are one and the same and the terms are used

synonymously.

       31.     Recordkeepers typically collect their fees in two forms, respectively referred to as

“direct” compensation and “indirect” compensation.

       32.     Direct compensation is paid directly from plan assets and reflected as a deduction

in the value of participant accounts.

       33.     Indirect Compensation is paid to the recordkeeper indirectly by third parties and is

not transparent to retirement plan participants. In other words, the fees are taken from the

investment options prior to the value of the investment option being provided to the participant.

Thus, in most cases, participants are not aware that they are paying these fees. Most indirect

compensation is typically collected by recordkeepers through asset-based “revenue sharing.”

       34.     Virtually all recordkeepers are subsidiaries or affiliates of financial services and

insurance companies that also provide investment options to defined contribution plans, (e.g.,

mutual funds, insurance products, collective trusts, separate accounts, etc.), or have some other

ancillary line of business (e.g., consulting) to sell to plans. As a result, all recordkeepers

consider the economic benefit of their entire relationship with a defined contribution plan when

setting fees for the RK&A services. Simply put, discounts in the RK&A fee rate are often

available based on revenues the recordkeeper earns through the provision of other services (e.g.,

investment management revenues). In many cases, the additional investment management

revenues are more than double or triple the revenue earned by the recordkeeper for providing

RK&A services.

       35.     There are two types of essential recordkeeping services provided by all national

recordkeepers for large plans with substantial bargaining power (like the Plan). First, an overall



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suite of recordkeeping services is provided to large plans as part of a “bundled” arrangement for

a buffet style level of service (meaning that the services are provided, in retirement industry

parlance, on an “all-you-can-eat” basis), including, but not limited to, the following services:

           i.        Recordkeeping;

          ii.        Transaction processing (which includes the technology to process purchases

                     and sales of participants’ assets, as well as providing the participants access to

                     investment options selected by the plan sponsor);

         iii.        Administrative services related to converting a plan from one recordkeeper to

                     another;

         iv.         Participant communications (including employee meetings, call centers/phone

                     support, voice response systems, web account access, and the preparation of

                     other materials distributed to participants, e.g., summary plan descriptions);

          v.         Maintenance of an employer stock fund (if needed);

         vi.         Plan document services, which include updates to standard plan documents to

                     ensure compliance with new regulatory and legal requirements;

        vii.         Plan consulting services, including assistance in selecting the investment

                     lineup offered to participants;

        viii.        Accounting and audit services, including the preparation of annual reports,

                     e.g., Form 5500s4 (excluding the separate fee charged by an independent

                     third-party auditor);

         ix.         Compliance support, including assistance interpreting plan provisions and

                     ensuring the operation of the plan is in compliance with legal requirements


4
The Form 5500 is the annual report that defined contribution plans are required to file with the DOL and U.S.
Department of Treasury pursuant to the reporting requirements of ERISA.

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                    and the provisions of the plan (excluding separate legal services provided by a

                    third-party law firm); and

         x.         Compliance testing to ensure the plan complies with U.S. Internal Revenue

                    Service nondiscrimination rules.

       36.       This suite of essential RK&A services can be referred to as “Bundled RK&A”

services. These services are offered by all recordkeepers for one price (typically at a per capita

price), regardless of the services chosen or utilized by the plan. Anyone who has passing

familiarity with recordkeepers’ responses to requests for proposals, their bids and their contracts

understands and appreciates that the services chosen by a large plan do not affect the amount

charged by recordkeepers for such basic and fungible services and any claim by Defendants that

recordkeeping expenses depend upon the service level provided to a plan with respect to the

above services is both false and frivolous. Nonetheless, as is all too often the case, fiduciary-

defendants often disingenuously assert that the cost of Bundled RK&A services depend upon

service level (even though such an assertion is plainly untrue based upon the actual marketplace

for such services), as part of attempt to perpetuate misunderstanding by the less informed in

order to stave off breach of fiduciary duty claims.

       37.       The second type of essential RK&A services, hereafter referred to as “A La Carte

RK&A” services, provided by all national recordkeepers, often has separate, additional fees

based on the conduct of individual participants and the usage of the services by individual

participants. These fees are distinct from the Bundled RK&A arrangement to ensure that one

participant is not forced to help another cover the cost of, for example, taking a loan from their

plan account balance. These A La Carte RK&A services typically include, but are not limited to,

the following:



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          i.       Loan processing;

         ii.       Brokerage services/account maintenance (if offered by the plan);

        iii.       Distribution services; and

         iv.       Processing of qualified domestic relations orders.

       38.     All national recordkeepers have the capability to provide all of the

aforementioned RK&A services to all large defined contribution plans, including those much

smaller than the Plan.

       39.     For large plans with greater than 5,000 participants, any minor variations in the

way that these essential RK&A services are delivered have no material impact on the fees

charged by recordkeepers to deliver the services. That fact is confirmed by the practice of all

recordkeepers quoting fees for the Bundled RK&A services on a per-participant basis without

regard for any individual differences in services requested—which are treated by recordkeepers

as immaterial because they are, in fact, inconsequential to recordkeepers from a cost perspective.

       40.     While recordkeepers in the defined contribution industry attempt to distinguish

themselves through marketing and other means, they all actually offer the same bundles and

combinations of services as their competitors. Accordingly, the market for defined contribution

plan RK&A services has become increasingly price competitive, particularly for larger plans

that, like the Plan, have a considerable number of participants and significant assets.

       41.     The marginal cost of adding an additional participant to a recordkeeping platform

is relatively low. These economies of scale are inherent in all recordkeeping arrangements for

defined contribution plans, including the Plan. As a plan’s participant count increases, the

recordkeeper’s fixed costs of providing RK&A services are spread over a larger population,

thereby reducing the average unit cost of delivering services on a per-participant basis.



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       42.      Due to these economies of scale that are part of a recordkeeping relationship, and

because the incremental variable costs for providing RK&A are dependent on the number of

participants with account balances in a defined contribution plan, the cost to the recordkeeper on

a per-participant basis declines as the number of plan participants increases and, as a result, a

recordkeeper is willing to accept a lower fee to provide RK&A as the number of participants in

the plan increases.

       43.      As a result, it is axiomatic in the retirement plan services industry that, all else

being equal: (1) a plan with more participants can and will receive a lower effective per-

participant fee when evaluated on a per-participant basis; and (2) that as participant counts

increase, the effective per-participant RK&A fee should decrease, assuming the same services

are provided.

       44.      Similarly, the average cost to a recordkeeper of providing services to a participant

does not hinge on that participant’s account balance. In other words, it costs a recordkeeper the

same amount to provide services to a participant with an account balance of $10,000 as it does to

provide services to a participant with a balance of $1,000,000.

       45.      Informed, prudent plan fiduciaries are aware of these cost structure dynamics.

Understanding these marketplace realities and facts, prudent fiduciaries of large plans (like the

Plan) will leverage the plan’s participant count to obtain lower effective per-participant fees.

       46.      Because recordkeeping fees are actually paid in dollars, prudent fiduciaries

evaluate the fees for RK&A services on a dollar-per-participant basis. This is the current

standard of care for ERISA fiduciaries and has been throughout the Class Period.

       47.      Prudent fiduciaries will regularly ensure that a plan is paying fees commensurate

with its size in the marketplace by soliciting competitive bids from recordkeepers other than the



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plan’s current provider. Recognizing that RK&A services are essentially uniform in nature, and

that small differences in the services required by a large plan are immaterial to the cost of

providing such services, most recordkeepers only require a plan’s participant count and asset

level in order to provide a fee quote. These quotes are typically provided on a per-participant

basis, enabling fiduciaries to easily compare quotes on an apples-to-apples basis to determine if

the current level of fees being charged by a plan’s recordkeeper is reasonable.

       48.     Once a prudent fiduciary has received quotes, if necessary, the fiduciary can then

negotiate with the plan’s current provider for a lower fee or move to a new provider to provide

the same (or better) services for a competitive (or lower) reasonable fee. This is because prudent

fiduciaries understand that excessive fees significantly and detrimentally impact the value of

participants’ retirement accounts.

       49.     After negotiating the fee to be paid to the recordkeeper and electing to have the

plan (i.e., participants) pay that fee, the fiduciaries can allocate the negotiated fees among

participant accounts at the negotiated per-participant rate or pro rata based on participant

account balances, among other less common ways.

D.     Defendants’ Breaches of Fiduciary Duties

       50.     As discussed in detail below, Defendants have severely breached their fiduciary

duties of prudence and/or loyalty to the Plan in several significant ways. Plaintiffs did not

acquire actual knowledge regarding Defendants’ breaches at issue here until shortly before this

Complaint was filed.

               1.      The Plan’s Excessive Recordkeeping/Administrative Costs

       51.     An obvious indicator of Defendants’ breaches of their fiduciary duties is the

Plan’s excessive RK&A costs. The impact of such high fees on participant balances is



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aggravated by the effect of compounding, to the significant detriment of participants over time.

This effect is illustrated by the below chart, published by the SEC, showing the 20-year impact

on a balance of $100,000 by fees of 25 basis points (0.25%), 50 basis points (0.50%), and 100

basis points (1.00%).




           52.     During the Class Period, participants paid Fidelity for RK&A services indirectly

through asset-based revenue sharing. The RK&A services provided to the Plan are and were the

same standard services identified above, and those provided to comparable plans. There are no

services provided to the Plan and its participants by Fidelity that are unusual or out of the

ordinary. Regardless, for large plans, like the Plan here, any differences in services are

immaterial to pricing considerations, the primary drivers of which are the number of participants

and whether the plan fiduciaries employed a competitive process of soliciting bids to determine

the reasonable market rate for the services required by the plan.

           53.     From the start of the Class Period through at least December 31, 2018,5

Defendants allowed the Plan to be charged total amounts of RK&A fees that far exceeded the


5
    At some point in 2019, Defendants changed nearly the entire Plan investment menu, removing all mutual funds

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reasonable market rate. The table below sets forth the annual amounts per participant the Plan

ultimately paid to Fidelity in RK&A fees, per the Plan’s Form 5500s.

                                                   2016        2017        2018      Average
          Participant Accounts with a Balance     5,419       5,285       5,418       5,374
                       Indirect Compensation $ 852,712 $ 979,678 $ 887,793 $ 906,728
                  Administrative Credit to Plan $ (314,389) $ (310,483) $ (474,990) $ (366,621)
                         Fidelity RK&A Fee ($) $ 538,323 $ 669,195 $ 412,803 $ 540,107
                      Fidelity RK&A Fee ($/pp)     $99        $127         $76        $101

         54.      Given the Plan’s size, expected growth, and resulting negotiating power, with

prudent management and administration, the Plan should unquestionably have been able to

obtain reasonable rates for RK&A services that were significantly lower than the effective per-

participant RK&A rates set forth above.

         55.      According to publicly available data and information from the Form 5500 filings

of similarly sized defined contribution plans during the Class Period, other comparable plans

were paying much lower fees than the Plan throughout the Class Period. That is clear and

compelling evidence that the reasonable market rate is lower than what the Plan was paying

since these comparable plans were able to negotiate lower fees for materially identical services.

         56.      The table below lists the RK&A fees paid by similarly sized defined contribution

plans, which represent the prices available to the Plan during the Class Period. Some of these

plans used Fidelity as their recordkeeper, while others used different high-quality, national

recordkeepers. The table also indicates the number of participants and assets of each plan.




offered in the Plan and selecting an all-CIT lineup. As there is no publicly available information on the revenue sharing
amounts generated by these CITs, Plaintiffs are unable to calculate the amounts remitted to Fidelity from 2019 through
the present.

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                         Plan                   Participants RK&A Fee ($) RK&A Fee ($/pp)            Recordkeeper
    Healthfirst Profit Sharing 401(k) Plan         4,950     $ 195,488         $39                   Vanguard
    Menasha Corporation 401(k) Retirement
    Savings Plan                                   5,198     $ 307,538         $59                   Prudential
    Colas Inc. and Subsidiaries 401(k) Savings
    Plan                                           5,240     $ 263,068         $50                   Prudential
    Univar Solutions 401(k) Plan Average Fee       5,374      $ 540,107       $101                   Fidelity
    Crowe LLP Retirement Plan                      5,799     $ 253,117         $44                   Vanguard
    Vista Outdoor Inc. 401(k) Plan                 5,937     $ 330,481         $56                   Vanguard
    Smithfield Foods, Inc. Salaried 401(k) Plan    6,149     $ 281,303         $46                   Great West
    The Boston Consulting Group, Inc.
    Employees' Savings Plan And Profit Sharing
    Retirement Fund                                8,067     $ 336,126         $42                   Vanguard
    Bausch Health Companies Inc. Retirement
    Savings Plan                                   8,902     $ 379,773         $43                   Fidelity

            57.     The RK&A fees calculated6 for each similar comparable plan in the table above

include all the direct compensation paid to the recordkeeper disclosed on each plan’s Form 5500,

as well as all indirect compensation. Specifically, if the plan’s pricing structure as described in

each plan’s Form 5500 reveals that some or all of the revenue sharing is not returned to the plan,

then the appropriate amount of revenue sharing is also included to calculate the RK&A fees. In

some cases, the plan’s investment options do not contain revenue sharing and, as a result, any

indirect revenue is immaterial to the RK&A fees. In other plans, all of the revenue sharing is

returned to the plans and is therefore not included in the fee calculation.

            58.     The comparable plans above received at least the same RK&A services received

by the Plan for the fees paid. In other words, the fees in the table above are apples-to-apples

comparisons in that they include all the fees being charged by each recordkeeper to provide the

same RK&A services to similar defined contribution plans.




6
    Fee calculations for the comparable plans are based on the information disclosed in each plan’s 2018 Form 5500.


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       59.     As the table above indicates, the fees paid by the Plan for virtually the same

package of services are much higher than those of plans with comparable, and in many cases

smaller, participant counts. Indeed, based on fees paid by other large plans during the Class

Period receiving materially identical RK&A services, it is clear and more than reasonable to

infer that Defendants failed to follow a prudent process to ensure that the Plan was paying only

reasonable fees. In light of the amounts remitted to Fidelity throughout the Class Period,

Defendants clearly engaged in virtually no examination, comparison, or benchmarking of the

RK&A fees of the Plan to those of other similarly sized defined contribution plans, or were

complicit in paying grossly excessive fees.

       60.     Defendants’ failure to recognize that the Plan and its participants were grossly

overcharged for RK&A services and their failure to take effective remedial actions amounts to a

shocking breach of their fiduciary duties to the Plan. To the extent Defendants had a process in

place, it was imprudent and ineffective given the objectively unreasonable level of fees the Plan

paid for RK&A services. Had Defendants appropriately monitored the compensation paid to

Fidelity and ensured that participants were only charged reasonable RK&A fees, Plan

participants would not have lost millions of dollars in their retirement savings over the last six-

plus years.

               2.      The Plan’s Investment in the Fidelity Freedom Funds

       61.     Among other investments, the Plan lineup offers a suite of target date funds

(“TDF(s)”). A TDF is an investment vehicle that offers an all-in-one retirement solution through

a portfolio of underlying funds that gradually shifts to become more conservative as the assumed

target retirement year approaches. TDFs offer investors dynamic, easy asset allocation, while

providing both long-term growth and capital preservation. All TDFs are inherently actively



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managed, because managers make changes to the allocations to stocks, bonds and cash over

time. These allocation shifts are referred to as a fund’s glide path. The underlying mutual funds

that TDF managers choose to represent each asset class can be actively or passively managed.

        62.      According to the Plan’s Form 5500s, from at least December 31, 20097 through at

least December 31, 2018,8 the Plan offered the Fidelity Freedom fund target date suite. Fidelity

Management & Research Company (“Fidelity”) is the second largest TDF provider by total

assets. Among its several target date offerings, Fidelity offers the riskier and more costly

Freedom funds (the “Active suite”) and the substantially less costly and less risky Freedom Index

funds (the “Index suite”), as well as a suite of collective investment trust TDFs with certain

structural advantages (described below). Defendants were responsible for crafting the Plan

lineup and could have chosen any of the target date families offered by Fidelity, or those of any

other target date provider. For the majority of the Class Period, Defendants failed to compare the

Active and Index suites, as well as all other available TDFs (including actively managed TDFs),

and consider their respective merits and features.

        63.      A simple weighing of the benefits of all other available TDFs at the beginning of

the Class Period would have raised a significant red flag for prudent fiduciaries and indicated

that the Active suite was not a suitable and prudent option for the Plan. In addition, any

objective evaluation of the Active suite would have resulted in an examination of and the

selection of a more consistent and better performing and more appropriate TDF than the Active

suite. Indeed, Defendants ultimately did just that, admitting their folly in retaining the Active



7
  The Form 5500 provides a detailed schedule of the Plan’s holdings at the end of each calendar year. The suite of
Fidelity Freedom funds appears as a Plan investment option as far back as the 2009 Form 5500, the earliest publicly
available filing.
8
At some point in 2019, Defendants replaced the Fidelity Freedom fund suite with the FIAM Index Target Date
Commingled Pools (“FIAM Index TDFs”).

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suite by replacing it with the more appropriate FIAM Index TDFs. Had Defendants carried out

their responsibilities in a single-minded manner with an eye focused solely on the interests of the

participants for the duration of the relevant period, they would have come to this conclusion

much earlier and acted upon it. Instead, Defendants failed to act in the sole interest of Plan

participants, and breached their fiduciary duty by imprudently selecting and retaining the Active

suite for far too long.

            64.      The two fund families (i.e., the Active suite and the Index suite) have nearly

identical names and share a management team.9 But while the Active suite invests

predominantly in actively managed Fidelity mutual funds,10 the Index suite places no assets

under active management, electing instead to invest in Fidelity funds that simply track market

indices. The Active suite is also dramatically more expensive than the Index suite, and riskier in

both its underlying holdings and its asset allocation strategy. Defendants’ decision to add the

Active suite over another prudent TDF suite, and their failure to replace the Active suite until

late in the Class Period, at which point the Active suite’s unsuitability for Plan participants had

been evident for years, constitutes a glaring breach of their fiduciary duties.

            65.      Exacerbating Defendants’ imprudent choice to add and retain the Active suite is

its role as the Plan’s Qualified Default Investment Alternative (“QDIA”). Under DOL

regulations, retirement plan fiduciaries can designate one of the investment offerings in a plan’s

lineup as a QDIA to aid participants who lack the knowledge or confidence to make investment

elections for their retirement assets; if participants do not direct where their assets should be

invested, all contributions are automatically invested in the QDIA. Plan fiduciaries are


9
 Both target date suites have been managed by Brett Sumsion and Andrew Dierdorf since 2014. Finola McGuire
Foley was added to the Index suite team in 2018.
10
     Per Morningstar, the Active suite’s underlying holdings are 88.8% actively managed, by asset weight.

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responsible for the prudent selection and monitoring of an appropriate QDIA. The Fidelity

Freedom fund with the target year closest to a participant’s assumed retirement age (i.e., age 65)

served as the QDIA in the Plan while the Active suite remained in the Plan lineup.

       66.     Given that the vast majority of plan participants are not sophisticated investors,

many of the Plan participants, by default, concentrate their retirement assets in TDFs. As such,

the impact of Defendants’ imprudent selection of TDFs is magnified vis-à-vis other asset

categories. Indeed, by December 31, 2018, approximately 44% of the Plan’s assets were

invested in the Active suite.

                       i.       The Active Suite is High-Risk and Unsuitable for Plan Participants

       67.     The Active suite chases returns by taking levels of risk that render it unsuitable

for the average retirement investor, including participants in the Plan. At first glance, the equity

glide paths of the Active suite and Index suite appear nearly identical, which would suggest both

target date options have a similar risk profile. However, the Active suite subjects its assets to

significantly more risk than the Index suite, through multiple avenues. At the underlying fund

level, where the Index suite invests only in index funds that track segments of the market, the

Active suite primarily features funds with a manager deciding which securities to buy and sell,

and in what quantities.

       68.     The goal of an active manager is to beat a benchmark—usually a market index or

combination of indices—by taking on additional risk. Market research has indicated that

investors should be very skeptical of an actively managed fund’s ability to consistently

outperform its index, which is a significant concern for long-term investors saving for retirement,

like the Plan participants in this action. Actively managed funds tend to charge higher fees than

index funds (which are passed on to the target date fund investor through higher expense ratios).



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These extra costs present an additional hurdle for active managers to clear in order to provide

value and compensate investors for the added risk resulting from their decision-making. Indeed,

Morningstar has repeatedly concluded that “in general, actively managed funds have failed to

survive and beat their benchmarks, especially over longer time horizons.”11 Although they may

experience success over shorter periods, active fund managers are rarely able to time the market

efficiently and frequently enough to outperform the market. The Active suite’s allocation to

primarily actively managed funds subjects investor dollars to the decision-making skill and

success, or lack thereof, of the underlying managers and the concomitant risk associated with

these investments.

        69.     At all times across the glide path, the Active suite’s top three domestic equity

positions were and are in Fidelity Series funds (funds created for exclusive use in the Freedom

funds), two of which have dramatically trailed their respective indices over their entire respective

lifetimes. The Intrinsic Opportunities Fund, which is currently allocated 7.97% of the total

assets in the 2040-2065 Funds, has, over its lifetime, missed its benchmark, the Russell 3000

Index, by an incredible 185 basis points (1.85%) on an annualized basis. The Large Cap Stock

Fund, which is currently allocated 6.95% of the total assets in the 2040-2065 Funds, has suffered

even worse underperformance; its annualized lifetime returns trail that of its benchmark, the S&P

500 Index, by 276 basis points (2.76%). The portfolio of the Active suite is diversified among

32 underlying investment vehicles; the two aforementioned series funds represent approximately

15% of the 2040 through 2065 vintages, meaning for at least 20 years (because those target date

funds have an associated target retirement date of at least twenty years from now), 15% of

investor dollars are subject to the poor judgment exercised by just those two managers.


11
  “How Actively and Passively Managed Funds Performed: Year-End 2018”;
https://www.morningstar.com/insights/2019/02/12/active-passive-funds.

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        70.      Manager performance issues among the underlying investments in the Active

suite are not limited to the largest positions. Of the 26 actively managed Fidelity Series Funds in

the Active suite portfolio, half similarly trail their respective benchmarks over their respective

lifetimes. Defendants never undertook a review of the performance of the funds comprising the

Active suite portfolio during the Class Period.

        71.      Moreover, as of the start of the Class Period, several of the underlying funds used

within the Active suite portfolio lacked a sufficient performance history to enable fiduciaries to

perform a meaningful analysis. No prudent fiduciary would have been able to properly evaluate

these funds. Indeed, 14 out of 24 funds12 failed to meet the basic criteria of at least a five-year

performance track record. Accordingly, almost two-thirds of the funds used in the Active suite

portfolio would have failed one of the most basic fiduciary requirements. Defendants failed to

undertake any such analysis at the start of, or at any subsequent point during, the Class Period.




12
  The two short-term debt funds, namely the Fidelity Institutional Money Market Fund and the Fidelity Short-Term
Bond Fund, are excluded. History and outperformance are less relevant in this market segment given the limited
scope for outperformance.

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  Underlying Fund Name                     Ticker   Inception Date Less than 5-Years Performance
  Fidelity Series 100 Index                FOHIX    20070329
  Fidelity Series 1000 Value Index         FSIOX    20130711                     x
  Fidelity Series All-Sector Equity        FSAEX    20081017
  Fidelity Series Blue Chip Growth         FSBDX    20130711                     x
  Fidelity Series Commodity Strategy       FCSSX    20090110
  Fidelity Series Emerging Markets Debt    FEDCX    20110317                     x
  Fidelity Series Emerging Markets         FEMFX    20080912
  Fidelity Series Equity-Income            FRLLX    20120612                     x
  Fidelity Series Floating Rate Hi Inc     FFHCX    20111020                     x
  Fidelity Series Growth & Income          FTBTX    20120612                     x
  Fidelity Series Growth Company           FCGSX    20130711                     x
  Fidelity Series High Income              FSHNX    20111003                     x
  Fidelity Series Infl-Prtct Bd Idx        FSIPX    20090929
  Fidelity Series International Growth     FIGSX    20090312
  Fidelity Series International Sm Cap     FSTSX    20090312
  Fidelity Series International Value      FINVX    20090312
  Fidelity Series Intrinsic Opps           FDMLX    20120612                     x
  Fidelity Series Investment Grade Bond    FSIGX    20080810
  Fidelity Series Opportunistic Insights   FVWSX    20120612                     x
  Fidelity Series Real Estate Equity       FREDX    20111020                     x
  Fidelity Series Real Estate Income       FSREX    20111020                     x
  Fidelity Series Small Cap Discovery      FJACX    20130711                     x
  Fidelity Series Small Cap Opps           FSOPX    20070322
  Fidelity Series Stk Selec Lg Cp Val      FBLEX    20120612                     x

       72.     Of the remaining underlying funds with a sufficient track record, only two had

outperformed their prospectus benchmark over the previous three- and five-year period as of the

start of the Class Period. Accordingly, 22 of the 24 funds comprising the Active suite portfolio

at the start of the pertinent period would not have fulfilled the most basic fiduciary criteria.

Clearly, Defendants neglected to undertake any such analysis.

       73.     Compounding the level of risk inherent in the Active suite’s underlying holdings

is the suite’s managers’ approach to portfolio construction and asset allocation decisions.

Returning to the equity glide paths discussed above, the Active and Index suites appear to follow

essentially the same strategy. The chart below shows the percentage of assets devoted to equities

in each vintage.

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                                              Equity Glide Path
                                                    Years to Target Retirement Year
        Series                     40    35   30    25 20 15 10 5            0 ‐5 ‐10 ‐15 ‐20
        Fidelity Freedom           90    90   90    90 89 78 65 58 53 43 35 24 24
        Fidelity Freedom Index     90    90   90    90 90 80 65 59 52 43 34 24 24

        74.      This chart only considers the mix of the portfolio at the level of stocks, bonds and

cash. A deeper examination of the sub-asset classes of the Active suite’s portfolio, however,

exposes the significant risks its managers take to boost returns. Across the glide path, the Active

suite allocates approximately 1.5% more of its assets to riskier international equities than the

Index suite. The Active suite also has higher exposure to classes like emerging markets and high

yield bonds. Defendants failed to investigate the level of risk inherent in the Active suite

portfolio and did not determine whether the risk level was suitable for Plan participants for the

majority of the Class Period.

        75.      Since the Active suite series underwent a strategy overhaul in 2013 and 2014, its

managers have had the discretion to deviate from the glide path allocations by 10 percentage

points in either direction. In a departure from the accepted wisdom that target date funds should

maintain pre-set allocations, Fidelity encouraged its portfolio managers to attempt to time market

shifts in order to locate underpriced securities, which the firm dubs “active asset allocation.”

This strategy heaps further unnecessary risk on investors, such as Plan participants, in the Active

suite. A March 2018 Reuters special report on the Fidelity Freedom funds (the “Reuters

Report”) details how many investors lost confidence in the Active suite “because of their history

of underperformance, frequent strategy changes and rising risk.”13 The report quotes a member

of Longfellow Advisors, who told Reuters that, after the 2014 changes, “it was not clear to us



13
  “Special Report: Fidelity puts 6 million savers on risky path to retirement”, https://www.reuters.com/article/us-
funds-fidelity-retirement-special-rep/special-report-fidelity-puts-6-million-savers-on-risky-path-to-retirement-
idUSKBN1GH1SI.

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that [the managers of the Active suite] knew what they were doing.”14 While many TDF

managers are increasing exposure to riskier investments in an effort to augment performance by

taking on additional risk, the president of research firm, Target Date Solutions, states that the

Active suite has gone further down this path than its peers.15 Morningstar has noted in the past

that active management has hindered the Active suite’s performance, criticizing a previous poor

decision to heavily weight to commodities. Other industry experts have criticized the “chaotic

glide paths” of the Active suite relative to peer target date providers.16 Morningstar similarly

characterized Fidelity’s shifts in the allocation of stocks between 1996 and 2010 as “shocking”

and “seemingly chaotic.” Yet, since 2014, a fund family with a history of poor decisions has

been given “carte blanche” to take further risks, to the severe detriment of the Plan and its

participants. Defendants never initiated or undertook any review or scrutiny of the Active suite’s

strategy changes.

         76.      This desire and latitude to assume more risk exposes investors in what Fidelity

brands “a lifetime savings solution” to significant losses in the event of volatility similar to the

downturn experienced during the COVID-19 epidemic. Morningstar analyst Jeff Holt opines

that the popularity of target date funds derives from investors’ belief that the funds are designed

to “not lose money.” As a result, the average unsophisticated investor, such as the typical

participant in the Plan, tends to gravitate toward the all-in-one savings solution a target date fund

offers. Given this reality, Plan participants should be shielded from the riskiest fund families

where active manager decisions could amplify losses in periods of market decline.




14
   Id.
15
   Id.
16
   Idzorek, T., J. Stempien, and N. Voris, 2011, Bait and Switch: Glide Path Instability, Ibbotson Associates.

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                      ii.     The Active Suite’s Considerable Cost

       77.     Even a minor increase in a fund’s expense ratio (the total annual cost to an

investor, expressed as a percentage of assets) can considerably reduce long-term retirement

savings. The fees charged by the Active suite are many multiples higher than the Index suite’s

industry-leading low costs. While the Institutional Premium share class for each target year of

the Index suite charges a mere 8 basis points (0.08%), the K share class of the Active suite—

which the Plan offered—has expense ratios ranging from 42 basis points (0.42%) to 65 basis

points (0.65%).




       78.     Higher fees significantly reduce retirement account balances over time.

Considering just the gap in expense ratios from the Plan’s investment in the Active suite to the

Institutional Premium share class of the Index suite, in 2018 alone, the Plan could have saved

approximately $1.35 million in costs. This tremendous cost difference goes straight into

Fidelity’s pockets and is paid for by Plan participants. As the costs for recordkeeping services




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have dropped precipitously over the past decade,17 recordkeepers like Fidelity have been forced

to chase profits elsewhere. The management fees derived from a plan’s use of a provider’s

investment offerings substantially trump any compensation for recordkeeping services. Thus,

Fidelity is heavily incentivized to promote its own investment products, specifically those that

charge the highest fees, to each plan for which it recordkeeps, including the Plan.

                        iii.    Investors Have Lost Faith in the Active Suite

        79.     The flow of funds to, or from, target date families constitutes one indicator of the

preferences of investors at large. According to Morningstar’s report on the 2019 Target Date

Fund Landscape,18 investor demand for low-cost target date options has skyrocketed in recent

years. Following suit, the Index suite has seen significant inflows, receiving an estimated $4.9

billion in new funds in 2018 alone. At the same time, investor confidence in the Active suite has

deteriorated; 2018 saw the series experience an estimated $5.4 billion in net outflows. The

movement of funds out of the Active suite has been substantial for years; the Reuters Report

notes that nearly $16 billion has been withdrawn from the fund family over the prior four years.

Defendants’ conduct, in offering and maintaining the Active suite in the Plan for the majority of

the pertinent period, evidences their failure to acknowledge, or act upon, investors’ crumbling

confidence in the Active suite, while ignoring the simultaneous and justified surge in faith in the

Index suite.

                        iv.     The Active Suite’s Inferior Returns

        80.     Exacerbating, and indeed the most significant of, the myriad issues identified

above was the Active suite’s miserable performance when measured against any of the other


17
   “NEPC: Corporate Defined Contribution Plans Report Flat Fees,”https://www.nepc.com/press/nepc-corporate-
defined-contribution-plans-report-flat-fees.
18
   “2019 Target-Date Fund Landscape: Simplifying the Complex.”


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most widely utilized TDF offerings. Throughout the Class Period, there were many TDFs that

consistently outperformed the Active suite, providing investors with substantially more capital

appreciation. It is apparent, given the continued presence of the Active suite in the Plan’s

investment menu for so long, that Defendants failed to scrutinize the performance of the Active

suite, prompted by the numerous red flags detailed above or otherwise, against any of the more

appropriate alternatives in the TDF marketplace for the majority of the Class Period.19

         81.      A prudent fiduciary evaluates TDF returns not only against an appropriate index

or a group of peers TDFs, but also against specific, readily investable alternatives to ensure that

participants are benefitting from the current TDF offering. At the start of the Class Period, the

Active suite ranked dead last when measured against the primary offerings of four of the five20

largest non-Fidelity managers in the TDF marketplace. The below performance table, comparing

the three- and five-year annualized returns of several representative vintages of the Active suite

to those of the same iterations of the Vanguard Target Retirement Funds Investor Class, the T.

Rowe Price Retirement Funds Investor Class, the American Funds Target Date Funds Class R6,

and the J.P. Morgan SmartRetirement Funds Institutional Class, represents information available

to Defendants at the start of the Class Period from the most recent quarter-end (the Fourth

Quarter of 2015). Defendants could have sought this data from the Plan’s investment advisor,

Strategic Advisors, Inc., or Fidelity, or indeed obtained it themselves through just a few clicks of

a computer mouse.


19
 That Defendants ultimately performed such analysis and replaced the Active suite with the FIAM Index TDFs in
2019 does not excuse their failure to do so several years prior. Defendants’ obstinance in retaining the Active suite
despite its myriad issues was to the severe detriment of Plan participants, causing them to miss out on millions of
dollars in retirement savings growth.
20
  Along with Vanguard, Fidelity, T. Rowe Price, American Funds and J.P. Morgan, BlackRock is among the six largest
TDF managers. BlackRock’s only widely utilized TDF suite, the BlackRock LifePath Index Funds (the “LifePath
Funds”), did not yet have a five-year performance history by the start of the Class Period, and accordingly, it is not
included in the performance comparison tables in this Complaint.

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                                   Three‐Year Annualized Return as of 4Q15
                                      Retirement 2020       2030       2040 2050
                       American Funds     6.02% 8.28% 10.56% 10.87% 10.91%
                       T. Rowe Price      5.26% 7.52% 9.28% 10.23% 10.23%
                       Vanguard           3.71% 7.21% 8.52% 9.46% 9.47%
                       J.P. Morgan        3.82% 6.32% 8.26% 9.14% 9.16%
                       Fidelity Freedom 2.66% 5.96% 7.61% 8.50% 8.75%

                                    Five‐Year Annualized Return as of 4Q15
                                       Retirement 2020       2030      2040                2050
                       American Funds      6.43% 7.72% 9.10% 9.22%                        9.25%
                       T. Rowe Price       5.68% 7.15% 8.21% 8.73%                        8.76%
                       Vanguard            4.91% 6.85% 7.59% 8.11%                        8.12%
                       J.P. Morgan         4.47% 6.38% 7.32% 7.85%                        7.87%
                       Fidelity Freedom 3.27% 5.58% 6.49% 6.89%                           6.92%
                       *Neither American Funds or T. Rowe Price offer a Retirement
                       vintage. Accordingly, the 2010 vintage is used as a proxy for
                       participants already in retirement.

         82.      Across the board, at all stages along the Active suite’s glide path from aggressive

to conservative, the Active suite’s returns paled in comparison to those of the above readily

available alternatives. Defendants, however, neglected to undertake any analysis of the Active

suite against appropriate peers using the above or other important performance metrics.21 If

Defendants had taken their fiduciary duties seriously throughout the Class Period, rather than

belatedly in 2019, they would have replaced the Active suite with a suitable alternative TDF at

the outset of the pertinent period. Their failure to do so caused Plan participants to miss out on

substantial investment returns for their retirement savings.




21
 Investment professionals and investment policy statements for virtually all competently managed defined
contribution retirement plans appropriately recognize that the three-year and five-year annualized returns are the most
important metrics for evaluating whether investment options should be maintained in a retirement plan lineup. Three-
year returns as of the Fourth Quarter of 2015 are not currently publicly available for each of the investable alternatives.
Such information was, however, easily accessible to Defendants at the time.


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                             V.    ERISA’S FIDUCIARY STANDARDS

       83.     ERISA imposes strict fiduciary duties of loyalty and prudence upon the

Defendants as fiduciaries of the Plan. Section 404(a) of ERISA, 29 U.S.C. § 1104(a), states, in

relevant part, as follows:

                 [A] fiduciary shall discharge his duties with respect to a plan
                 solely in the interest of the participants and beneficiaries and -

                 (A)    for the exclusive purpose of

                        (i)       providing benefits to participants and their
                                  beneficiaries; and
                         (ii)     defraying reasonable expenses of administering the plan;

                                               [and]

                (B)     with the care, skill, prudence, and diligence under the
                        circumstances then prevailing that a prudent man acting in a like
                        capacity and familiar with such matters would use in the conduct
                        of an enterprise of like character and with like aims.

       84.     Under 29 U.S.C. § 1103(c)(l), with certain exceptions not relevant here, the assets

of a plan shall never inure to the benefit of any employer and shall be held for the exclusive

purposes of providing benefits to participants in a plan and their beneficiaries and defraying

reasonable expenses of administering the plan.

       85.     Under ERISA, parties that exercise any authority or control over plan assets,

including the selection of plan investments and service providers, are fiduciaries and must act

prudently and solely in the interest of participants in a plan.

       86.     ERISA’s fiduciary duties are “the highest known to the law” and must be

performed “with an eye single” to the interests of participants. Donovan v. Bierwirth, 680 F.2d

263, 271, 272 n. 8 (2d Cir. 1982).




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       87.     ERISA also imposes explicit co-fiduciary liabilities on plan fiduciaries. Section

405(a) of ERISA, 29 U.S.C. § 1105(a) provides a cause of action against a fiduciary for

knowingly participating in a breach by another fiduciary and knowingly failing to cure any

breach of duty. ERISA states, in relevant part, as follows:

                In addition to any liability which he may have under any other
                provision of this part, a fiduciary with respect to a plan shall be liable
                for a breach of fiduciary responsibility of another fiduciary with
                respect to the same plan in the following circumstances:

                       (1)      if he participates knowingly in, or knowingly
                                undertakes to conceal, an act or omission of such
                                other fiduciary, knowing such act or omission is a
                                breach; or

                       (2)      if, by his failure to comply with section 404(a)(l) in
                                the administration of his specific responsibilities
                                which give risk to his status as a fiduciary, he has
                                enabled such other fiduciary to commit a breach; or

                       (3)      if he has knowledge of a breach by such other fiduciary,
                                unless he makes reasonable efforts under the
                                circumstances to remedy the breach.

       88.     Section 502(a)(2) of ERISA, 29 U.S.C. § 1132(a)(2) authorizes a plan participant

to bring a civil action to enforce a breaching fiduciary’s liability to the plan under Section 409,

29 U.S.C. § 1109. Section 409(a) of ERISA provides, in relevant part:

               Any person who is a fiduciary with respect to a plan who breaches
               any of the responsibilities, obligations, or duties imposed upon
               fiduciaries by this subchapter shall be personally liable to make
               good to such plan any losses to the plan resulting from each such
               breach, and to restore to such plan any profits of such fiduciary
               which have been made through use of assets of the plan by the
               fiduciary, and shall be subject to such other equitable or remedial
               relief as the court may deem appropriate, including removal of
               such fiduciary.




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                                 VI.     CLASS ALLEGATIONS

      89.      This action is brought as a class action by Plaintiffs on behalf of themselves and

the following proposed Class:

               All participants and beneficiaries in the Univar Solutions 401(k) Plan (the
               “Plan”) at any time on or after January 21, 2016 and continuing to the date
               of judgment, or such earlier date that the Court determines is appropriate
               and just (the “Class Period”), including any beneficiary of a deceased
               person who was a participant in the Plan at any time during the Class
               Period.

Excluded from the Class are Defendants and the Judge to whom this case is assigned or any

other judicial officer having responsibility for this case who is a beneficiary.

      90.      This action may be maintained as a class action pursuant to Rule 23 of the Federal

Rules of Civil Procedure.

      91.      Numerosity. Plaintiffs are informed and believe that there are at least thousands

of Class members throughout the United States. As a result, the members of the Class are so

numerous that their individual joinder in this action is impracticable.

      92.      Commonality. There are numerous questions of fact and/or law that are common

to Plaintiffs and all the members of the Class, including, but not limited to the following:

       (a)     Whether Defendants failed and continue to fail to discharge their duties with

respect to the Plan solely in the interest of the Plan’s participants for the exclusive purpose of

providing benefits to participants and their beneficiaries;

       (b)     Whether Defendants breached their fiduciary duties under ERISA by failing to

defray the reasonable expenses of administering the Plan; and

       (c)     Whether and what form of relief should be afforded to Plaintiffs and the Class.

      93.      Typicality. Plaintiffs, who are members of the Class, have claims that are typical

of all of the members of the Class. Plaintiffs’ claims and all of the Class members’ claims arise

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 out of the same uniform course of conduct by Defendants and arise under the same legal

 theories that are applicable as to all other members of the Class. In addition, Plaintiff seeks

 relief for the Plan under the same remedial theories that are applicable as to all other members

 of the Class.

       94.       Adequacy of Representation. Plaintiffs will fairly and adequately represent the

 interests of the members of the Class. Plaintiffs have no conflicts of interest with or interests

 that are any different from the other members of the Class. Plaintiffs have retained competent

 counsel experienced in class action and other complex litigation, including class actions under

 ERISA.

       95.       Potential Risks and Effects of Separate Actions. The prosecution of separate

actions by or against individual Class members would create a risk of: (A) inconsistent or

varying adjudications with respect to individual Class members that would establish

incompatible standards of conduct for the party opposing the Class; or (B) adjudications with

respect to individual class members that, as a practical matter, would be dispositive of the

interests of the other members not parties to the individual adjudications or would substantially

impair or impede their ability to protect their interests.

       96.       Predominance. Common questions of law and fact predominate over questions

 affecting only individual Class members, and the Court, as well as the parties, will spend the

 vast majority of their time working to resolve these common issues. Indeed, virtually the only

 individual issues of significance will be the exact amount of damages recovered by each Class

 member, the calculation of which will ultimately be a ministerial function and which does not

 bar Class certification.




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      97.      Superiority. A class action is superior to all other feasible alternatives for the

resolution of this matter. The vast majority of, if not all, Class members are unaware of

Defendants’ breaches of fiduciary duty and prohibited transactions such that they will never

bring suit individually. Furthermore, even if they were aware of the claims they have against

Defendants, the claims of virtually all Class members would be too small to economically

justify individual litigation. Finally, individual litigation of multiple cases would be highly

inefficient, a gross waste of the resources of the courts and of the parties, and potentially could

lead to inconsistent results that would be contrary to the interests of justice.

      98.      Manageability. This case is well-suited for treatment as a class action and easily

can be managed as a class action since evidence of both liability and damages can be adduced,

and proof of liability and damages can be presented, on a Class-wide basis, while the allocation

and distribution of damages to Class members would be essentially a ministerial function.

      99.      Defendants have acted on grounds generally applicable to the Class by uniformly

subjecting them to the breaches of fiduciary duty described above. Accordingly, injunctive

relief, as well as legal and/or equitable monetary relief (such as disgorgement and/or

restitution), along with corresponding declaratory relief, are appropriate with respect to the

Class as a whole.

       100.    Plaintiffs’ counsel will fairly and adequately represent the interests of the Class

and are best able to represent the interests of the Class under Rule 23(g) of the Federal Rules of

Civil Procedure. Moreover, treating this case as a class action is superior to proceeding on an

individual basis and there will be no difficulty in managing this case as a class action.

       101.    Therefore, this action should be certified as a class action under Rules 23(a) and

23(b)(1) and/or 23(b)(3) of the Federal Rules of Civil Procedure.



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                                            COUNT I
                                  (For Breach of Fiduciary Duty)

        102.    Plaintiffs incorporate by reference the allegations in the previous paragraphs of

this Complaint as if fully set forth herein.

        103.    Defendants’ conduct, as set forth above, violates their fiduciary duties under

Sections 404(a)(1)(A), (B) and (D) of ERISA, 29 U.S.C. § 1104(a)(1)(A), (B) and (D), in that

Defendants failed and continue to fail to discharge their duties with respect to the Plan solely in

the interest of the Plan’s participants and beneficiaries and (a) for the exclusive purpose of (i)

providing benefits to participants and their beneficiaries; and (ii) defraying reasonable expenses

of administering the Plan with (b) the care, skill, prudence, and diligence under the

circumstances then prevailing that a prudent man acting in a like capacity and familiar with such

matters would use in the conduct of an enterprise of a like character and with like aims, and (c)

by failing to act in accordance with the documents and instruments governing the Plan. In

addition, as set forth above, Defendants violated their respective fiduciary duties under ERISA to

monitor other fiduciaries of the Plan in the performance of their duties.

        104.    To the extent that any of the Defendants did not directly commit any of the

foregoing breaches of fiduciary duty, at the very minimum, each such Defendant is liable under

29 U.S.C. § 1105(a) because he, she, they or it was a co-fiduciary and knowingly participated in

(or concealed) a breach by another fiduciary, enabled another fiduciary to commit breaches of

fiduciary duty in the administration of his, her, their or its specific responsibilities giving rise to

his, her, their or its fiduciary status and/or knowingly failing to cure a breach of fiduciary duty by

another fiduciary and/or failed to take reasonable efforts to remedy the breach.

        105.    As a direct result of Defendants’ breaches of duties, the Plan has suffered losses

and damages.

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           106.   Pursuant to Sections 409 and 502(a)(2) of ERISA, 29 U.S.C. §§ 1109 and 1132,

Defendants are liable to restore to the Plan the losses that have been suffered as a direct result of

Defendants’ breaches of fiduciary duty and are liable for damages and any other available

equitable or remedial relief, including prospective injunctive and declaratory relief, and

attorneys’ fees, costs and other recoverable expenses of litigation.

                                           COUNT II
                   (Failure to Monitor Fiduciaries and Co-Fiduciary Breaches)

       107.       Plaintiffs incorporate the allegations in the previous paragraphs of this Complaint

as if fully set forth herein.

       108.       Univar is responsible for appointing, overseeing, and removing members of the

Administrative Committee, who, in turn, are responsible for appointing, overseeing, and

removing members of the Committee.

       109.       In light of its appointment and supervisory authority, Univar had a fiduciary

responsibility to monitor the performance of the Committee and its members. In addition,

Univar, and the Administrative Committee had a fiduciary responsibility to monitor the

performance of the members of the Committee.

       110.       A monitoring fiduciary must ensure that the monitored fiduciaries are performing

their fiduciary obligations, including those with respect to the investment and holding of Plan

assets, and must take prompt and effective action to protect the Plan and participants when they

are not.

       111.       To the extent that fiduciary monitoring responsibilities of Univar or the

Committee was delegated, each Defendant’s monitoring duty included an obligation to ensure

that any delegated tasks were being performed prudently and loyally.

       112.       Univar and the Committee breached their fiduciary monitoring duties by, among

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other things:

          (a) Failing to monitor and evaluate the performance of their appointees or have a

          system in place for doing so, standing idly by as the Plan suffered enormous losses as

          a result of the appointees’ imprudent actions and omissions with respect to the Plan;

          (b) Failing to monitor their appointees’ fiduciary processes, which would have alerted

          a prudent fiduciary to the breaches of fiduciary duties described herein, in clear

          violation of ERISA; and

          (c) Failing to remove appointees whose performances were inadequate in that they

          continued to maintain imprudent, excessively costly, and poorly performing

          investments within the Plan, all to the detriment of the Plan and its participants’

          retirement savings.

      113.      As a consequence of these breaches of the fiduciary duty to monitor, the Plan

suffered substantial losses. Had Univar and the Committee discharged their fiduciary monitoring

duties prudently as described above, the losses suffered by the Plan would have been minimized

or avoided. Therefore, as a direct result of the breaches of fiduciary duties alleged herein, the

Plan and its participants have lost millions of dollars of retirement savings.

      114.      Univar and the Committee are liable under 29 U.S.C. § 1109(a) to make good to

the Plan any losses to the Plan resulting from the breaches of fiduciary duties alleged in this

Count, to restore to the Plan any profits made through use of Plan assets, and are subject to other

equitable or remedial relief as appropriate.

      115.      Each of the Defendants also knowingly participated in the breaches of the other

Defendants, knowing that such acts constituted breaches; enabled the other Defendants to

commit breaches by failing to lawfully discharge their own fiduciary duties; and knew of the



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breaches by the other Defendants and failed to make any reasonable effort under the

circumstances to remedy the breaches. Defendants, thus, are liable for the losses caused by the

breaches of their co-fiduciaries under 29 U.S.C. § 1105(a).

                                           COUNT III
                   (In the Alternative, Liability for Knowing Breach of Trust)

         116.   Plaintiffs incorporate the allegations in the previous paragraphs of this Complaint

as if fully set forth herein.

         117.   In the alternative, to the extent that any of the Defendants are not deemed a

fiduciary or co-fiduciary under ERISA, each such Defendant should be enjoined or otherwise

subject to equitable relief as a non-fiduciary from further participating in a knowing breach of

trust.

         118.   To the extent any of the Defendants are not deemed to be fiduciaries and/or are

not deemed to be acting as fiduciaries for any and all applicable purposes, any such Defendants

are liable for the conduct at issue here, since all Defendants possessed the requisite knowledge

and information to avoid the fiduciary breaches at issue here and knowingly participated in

breaches of fiduciary duty by permitting the Plan to offer a menu of imprudent investment

options and pay excessive recordkeeping and administrative fees, all of which was unjustifiable

in light of the size and characteristics of the Plan.

                                      PRAYER FOR RELIEF

         WHEREFORE, Plaintiffs, on behalf of themselves, the Class and the Plan, demand

judgment against Defendants for the following relief:

         (a)    Declaratory and injunctive relief pursuant to Section 502 of ERISA, 29 U.S.C. §

         1132, as detailed above;

         (b)    Equitable, legal or remedial relief to return all losses to the Plan and/or for

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       restitution and/or damages as set forth above, plus all other equitable or remedial relief as

       the Court may deem appropriate pursuant to Sections 409 and 502 of ERISA, 29 U.S.C.

       §§ 1109 and 1132;

       (c)     Pre-judgment and post-judgment interest at the maximum permissible rates,

       whether at law or in equity;

       (d)     Attorneys’ fees, costs and other recoverable expenses of litigation; and

       (e)     Such further and additional relief to which the Plan may be justly entitled and the

       Court deems appropriate and just under all of the circumstances.

                          NOTICE PURSUANT TO ERISA § 502(h)

       To ensure compliance with the requirements of Section 502(h) of ERISA, 29 U.S.C. §

1132(h), the undersigned hereby affirms that, on this date, a true and correct copy of this

Complaint was served upon the Secretary of Labor and the Secretary of the Treasury by certified

mail, return receipt requested.



DATED: January 21, 2022                       Respectfully submitted,

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